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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

         Plaintiff,

 vs                                                     Case No: 13-20371
                                                        Honorable Victoria A. Roberts
 DOREEN HENDRICKSON,

      Defendant.
 ______________________________/


                      ORDER DENYING MOTION FOR RECONSIDERATION

         Defendant Doreen Hendrickson filed a Motion for Reconsideration [Doc. 184].

         Defendant’s motion presents the same issues already ruled on by the Court.

 Further, the Defendant has failed to demonstrate a palpable defect by which the Court

 and the parties have been misled. L.R. 7(g)(3).

         For these reasons, the motion is DENIED.

         IT IS SO ORDERED.


                                                   S/ Victoria A. Roberts
                                                  Victoria A. Roberts
                                                  United States District Judge

 Dated: January 30, 2018

  The undersigned certifies that a copy of this
  document was served on the attorneys of
  record and Doreen Hendrickson by electronic
  means or U.S. Mail on January 30, 2018.

  s/Linda Vertriest
  Deputy Clerk
